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                                         In the
           United States Bankruptcy Court
                        For the Northern District of Illinois



                                              EASTERN DIVISION
  IN RE:                                      HON. DEBORAH L. THORNE

             REGINALD REDMOND,                CASE NO. 20-21350
                                              CHAPTER 13
                               DEBTOR.
                                              HEARING DATE: 1/27/2021
                                              HEARING TIME: 2:30 P.M.




                          OBJECTION TO
                       P LAN C ONFIRMATION

   On December 10, 2020, Reginald Redmond (“Debtor”) filed for relief under chapter
13 of the Bankruptcy Code and listed the City of Chicago (“City”) as a creditor. The
City has filed Proofs of Claims in the case. See Claims Register 5-1 and 6-1. The City
objects to confirmation of the Debtor’s proposed amended chapter 13 plan [Docket 13]
(“Plan”). The Plan as proposed does not comply with the requirements of the
Bankruptcy Code, 11 U.S.C. § 101 et seq. (“Code”). The Plan fails to vest property of
the estate to the Debtor upon confirmation, with no apparent justification for keeping
all property in the estate for the duration of the case. Accordingly, the Plan cannot be
confirmed.
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                  O BJECTION :
 F AILURE T O V EST PROPERTY O F T HE E STATE
                 W ITH T HE D EBTOR

   Paragraph 7.1 of the Plan form concerns disposition of estate property and has
three check boxes which provide for vesting of estate property in the debtor upon plan
confirmation, upon entry of discharge, or under other circumstances. The Debtor has
checked the second box, indicating that under the Plan property will vest in the
Debtor upon entry of discharge, and will remain in the estate until that time.
   Section 1325(a)(1) provides that as a condition of confirmation a chapter 13 plan
must comply “with the provisions of this chapter[.]” On its face, the Plan appears not
to comply with 11 U.S.C. § 1327(b), as interpreted by the Seventh Circuit.
   Section 1327(b) provides,
             Except as otherwise provided in the plan or the order
             confirming the plan, the confirmation of a plan vests all of
             the property of the estate in the debtor.
   In Matter of Steenes, 918 F.3d 554, 558 (7th Cir. 2019), the Seventh Circuit
interpreted Section 1327(b) as requiring a case specific confirmation order setting
forth clear reasons as to why property should vest with the estate and not the debtor
upon confirmation. The case involved the Court’s rejection of a standardized form
order that vested a debtor’s property in the bankruptcy estate upon confirmation.
The Seventh Circuit subsequently applied the same reasoning to cases in which a
debtor checked the box on the plan, providing that all property remains property of
the estate until discharge. Matter of Cherry, 963 F.3d 717 (7th Cir. 2020).
   In Cherry, the Seventh Circuit to further explained its holding in Steenes. After
Steenes, the form confirmation order was revised to remove the conflict with the
statutory presumption of Section 1327(b), but debtors continued to achieve the same
result by utilizing the check box in Section 7.1 of the form plan. In Cherry, the Court
reiterated that it “held in [Steenes] that the statutory presumption—‛confirmation of
a plan vests all of the property of the estate in the debtor’—means that there must be


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a good case-specific reason for doing otherwise. Whether the debtor (by checking a
box) or the judge (through a form order) proposes the departure from the statutory
norm does not affect the need for justification.”       Id. at 719. The Court further
explained that a debtor is only entitled to confirmation of a plan that satisfies not just
11 U.S.C. § 1325(a), but also complies with the other provisions of chapter 13 and
Title 11. Id. “Section 1327(b) is one of those provisions” and “[i]t need not be
mentioned separately in § 1325.” Id. The Court’s analysis of the standardized
checkbox form plan concluded with a definitive statement: “A bankruptcy court may
confirm a plan that holds property in the estate only after finding good case-specific
reasons for that action.” Id at 720.
   Nothing on the face of Debtor’s Plan provides any justification for retention of all
property in the estate post-confirmation. Debtor has neither specified any reasons
nor implied any reasons as to why any property should vest with the bankruptcy
estate upon confirmation. The Seventh Circuit affirmatively held in Steenes, and
reiterated in Cherry, that a debtor’s need or desire for a car to work to earn money to
fund the plan, or to insulate the car from enforcement for post-petition tickets, is not
sufficient. Steenes, 918 F.3d at 557-58; Cherry, 963 F.3d at 719. Unless the Debtor
can establish other case specific reasons to vest the property in the estate, the Plan
cannot be confirmed.




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                               C ONCLUSION

      The proposed Plan here would retain all property in the estate for the duration
of the case with no apparent justification. Pursuant to Cherry, confirmation should
therefore be denied.


DATED: 1/14/2021                             RESPECTFULLY SUBMITTED,

                                             THE CITY OF CHICAGO

                                             Celia Meza
                                             Acting Corporation Counsel

                                             By: /s/ Jaime Dowell
                                                 Assistant Corporation Counsel

Celia Meza
Acting Corporation Counsel
Jaime Dowell (ARDC# 6281312)
Assistant Corporation Counsel
CITY OF CHICAGO, DEPARTMENT OF LAW
Chicago City Hall
121 N. LaSalle St., Ste. 400
Chicago, IL 60602
Tel: (312) 742-0056
Email: jaime.dowell@cityofchicago.org




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                          CERTIFICATE OF SERVICE

           I, Jaime Dowell, an attorney, hereby certify that on 1/14/2021, I
    caused a copy of the attached City of Chicago’s Objection to Plan
    Confirmation to be served via the court’s electronic noticing system for
    Registrants on those designated to receive such service as provided on
    the attached Service List.


                                                 /s/ Jaime Dowell


                                SERVICE LIST

    Registrants
    (Via CM/ECF)

    David M. Siegel           davidsiegelbk@gmail.com

    Marilyn O. Marshall       courtdocs@chi13.com

    Patrick S. Layng          USTPRegion11.ES.ECF@usdoj.gov
